                     Case 4:08-cr-00315-RSB-CLR Document 1516 Filed 03/13/15 Page 1 of 1
AO 247 (10/1 1) Order Regarding Motion for Sentence Reduction Pursuant to IE U.S.C. § 3582(c)(2)                                    Pe 1 of (Page 2 Not for Public Disclosure)



                                                                  UNITED STATES DISTRICT COURT
                                                                                         for the
                                                                               Savannah Division
                        United States of America                                           )                                   i1

                                          V.
                                                                                           ) Case No: 4:08-CR-003 15-44
                         Dominic Manuel Williams
                                                                                           ) USM No: 08259-021
Date of Original Judgment:                 December 14. 2009                               ) James Scott Byrne
Date of Previous Amended Judgment: N/A                                                     ) Defendant's Attorney
(Use Date of Last Amended Judgment, ifany)



                                            Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant                       F-1
                                                 the Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1BI .10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
FXJ DENIED.           n
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the lastiudgment
             issued) of        months is reduced to


                                                      (Complete Parts I and!! of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                                 December 14, 2009, shall remain in effect.
IT IS SO ORDERED.

Order Date:                 9i' /.f o ls
                                                                                                                      Judge's signalu


                                                                                                   William T. Moore, Jr.
                                                                                                   Judge, U.S. District Court
 Effective Date: November 1, 2015                                                                  Southern District of Georgia
                           (ifdtfferent from order date)                                                            Printed name and title
